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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


Commodity Futures Trading Commission,

                     Plaintiff,
                                                    Case No. 1:23-cv-1887
       v.
                                                    Judge Manish S. Shah
Changpeng Zhao, Binance Holdings Limited,
Binance Holdings (IE) Limited, Binance
(Services) Holdings Limited, and Samuel Lim,

                     Defendants.


                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on July 27, 2023 at 9:45 a.m. or as soon thereafter as counsel

may be heard, counsel for Defendants will appear before the Honorable Manish S. Shah of the

United States District Court for the Northern District of Illinois in Courtroom 1919 at 219 South

Dearborn Street, Chicago, Illinois and present the Defendants’ Unopposed Motion for Leave to

File Excess Pages.
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Dated: July 24, 2023                     Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 24, 2023, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.


                                                         /s/ Erin P. Gasparka
                                                         Erin P. Gasparka




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